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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                        LAKE CHARLES DIVISION




 THE STATE OF LOUISIANA,                    No. 2:23-cv-00692-JDC-KK
                 Plaintiff,

       v.

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.,


                 Defendants.




  JOINT PROPOSED BRIEFING SCHEDULE ON PLAINTIFF’S MOTION
  FOR PRELIMINARY INJUNCTION AND THE PARTIES’ ANTICIPATED
           CROSS-MOTIONS FOR DISPOSITIVE RELIEF

      On May 24, 2023, Plaintiff State of Louisiana filed a seven-count complaint

challenging various alleged actions by Defendants in the administration of Title VI

of the Civil Rights Act of 1964. See Compl., ECF No. 1. Plaintiff then filed, on June

21, 2023, a motion for preliminary injunction challenging alleged actions by

Defendant U.S. Environmental Protection Agency (EPA) in connection with two Title

VI discrimination complaints that EPA had accepted for investigation. ECF No. 10.

Defendants on June 27, 2023 notified this Court and Plaintiff that EPA had closed

EPA’s investigations into the allegations of discrimination contained in those two

Title VI complaints and resolved the complaints.      ECF No. 18.    In response to

Defendants’ Notice, the Court on June 29, 2023 directed Plaintiff to indicate what

claims were resolved, and what claims remain in this lawsuit. ECF No. 20. Plaintiff
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on July 6, 2023 responded to the Court’s Order and “submit[ted] that all of its claims

continue to present justiciable controversies within this Court’s jurisdiction,” but also

stated but that its motion for preliminary injunction now sought narrower and

modified relief in light of EPA’s dismissals of the two Title VI complaints. See ECF

No. 21.

      Counsel for the parties have conferred, including by email and by

teleconferences on June 30 and July 7, 2023, regarding appropriate next steps in this

case in order to present the disputes in the most efficient manner possible for the

Court’s resolution. The parties have agreed that this case may be fully resolved by

cross-motions for dispositive relief.      Because Plaintiff’s pending motion for

preliminary injunction presents substantial overlap with the overall issues presented

by Plaintiff’s Complaint, the parties have also agreed that combining the briefing on

Plaintiff’s pending motion for preliminary injunction with briefing on dispositive

motions Rule 12 (b), Rule 56, or both will promote judicial efficiency and economy for

both the parties and the Court.       See Fed. R. Civ. P. 1.      The parties therefore

respectfully request that the Court approve and enter the following briefing schedule,

with the noted page limits:1

         August 16, 2023: Defendants’ deadline to file a combined opposition to

          Plaintiff’s motion for preliminary injunction, and motion to dismiss under




1 Defendants also respectfully request that their deadline to respond to Plaintiff’s

Complaint with an Answer, should one be required, be extended during the pendency
of the parties’ anticipated cross-motions.


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          Rule 12(b) and/or for summary judgment under Rule 56.          Defendants’

          combined memorandum not to exceed 50 pages.

         September 19, 2023: Plaintiff’s deadline to file a combined reply in

          support of its motion for preliminary injunction, response to Defendants’

          dispositive motion, and motion for summary judgment. Plaintiff’s combined

          memorandum not to exceed 50 pages.

         October 19, 2023: Defendants’ deadline to file a combined reply in support

          of their dispositive motion, and response to Plaintiff’s motion for summary

          judgment. Defendants’ combined memorandum not to exceed 30 pages.2

The parties respectfully request that the Court set a hearing on their motions on a

date convenient for the Court, and counsel for the parties intend to provide the Court

with mutually available dates for a hearing. Should circumstances warrant—e.g., a

factual dispute relevant to the briefing—the parties reserve the right to request

modification of the above schedule, and in that event will confer with one another and

make every effort to present the Court with a joint request for modification.

.     A proposed order is attached.


Dated: July 12, 2023                   Respectfully submitted,

                                       JEFF LANDRY
                                       ATTORNEY GENERAL

                                       ELIZABETH B. MURRILL (La #20685)
                                       Solicitor General

2 While the parties will endeavor not to use the full number of pages requested for

each brief, they have requested these page limits to avoid burdening the Court with
additional page-extension motions at a later date.


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                                   By:/s/ J. Scott St. John (by permission)

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